 Case 2:18-cv-03609-R-E Document 1 Filed 04/29/18 Page 1 of 8 Page ID #:1




 1     CENTER FOR DISABILITY ACCESS
       Chris Carson, Esq., SBN 280048
 2     Ray Ballister, Jr., Esq., SBN 111282
       Phyl Grace, Esq., SBN 171771
 3     Dennis Price, Esq., SBN 279082
       Mail: PO Box 262490
 4     San Diego, CA 92196-2490
       Delivery: 9845 Erma Road, Suite 300
 5     San Diego, CA 92131
       (858) 375-7385; (888) 422-5191 fax
 6     phylg@potterhandy.com
 7     Attorneys for Plaintiff
 8
 9
10                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
11
12
       Luis Marquez;                          Case No.
13
               Plaintiff,                     Complaint For Damages And
14                                            Injunctive Relief For Violations
         v.                                   Of: American’s With Disabilities
15                                            Act; Unruh Civil Rights Act
       Summerwood, LP, a Delaware
16     Limited Partnership;
       Sancam, Inc., a California
17     Corporation;
       Smart & Final Stores LLC, a
18     California Limited Liability
       Company; and Does 1-10,
19
               Defendants.
20
21
22
           Plaintiff Luis Marquez complains of Defendants Summerwood, LP, a
23
     Delaware Limited Partnership; Sancam, Inc., a California Corporation; Smart
24
     & Final Stores LLC, a California Limited Liability Company; and Does 1-10
25
     (“Defendants”) and alleges as follows:
26
27
           PARTIES:
28
       1. Plaintiff is a California resident with physical disabilities. He is a

                                          1

     Complaint
 Case 2:18-cv-03609-R-E Document 1 Filed 04/29/18 Page 2 of 8 Page ID #:2




 1   paraplegic who cannot walk and who uses a wheelchair for mobility.
 2     2. Defendants Summerwood, LP and Sancam, Inc. owned the real
 3   property located at or about 4237 Woodruff Avenue, Lakewood, California, in
 4   March 2018.
 5     3. Defendants Summerwood, LP and Sancam, Inc. own the real property
 6   located at or about 4237 Woodruff Avenue, Lakewood, California, currently.
 7     4. Defendant Smart & Final Stores LLC owned the Smart and Final located
 8   at or about 4237 Woodruff Avenue, Lakewood, California, in March 2018.
 9     5. Defendant Smart & Final Stores LLC owns the Smart and Final store
10   (“Store”) located at or about 4237 Woodruff Avenue, Lakewood, California,
11   currently.
12     6. Plaintiff does not know the true names of Defendants, their business
13   capacities, their ownership connection to the property and business, or their
14   relative responsibilities in causing the access violations herein complained of,
15   and alleges a joint venture and common enterprise by all such Defendants.
16   Plaintiff is informed and believe that each of the Defendants herein, including
17   Does 1 through 10, inclusive, is responsible in some capacity for the events
18   herein alleged, or is a necessary party for obtaining appropriate relief. Plaintiff
19   will seek leave to amend when the true names, capacities, connections, and
20   responsibilities of the Defendants and Does 1 through 10, inclusive, are
21   ascertained.
22
23     JURISDICTION & VENUE:
24     7. This Court has subject matter jurisdiction over this action pursuant to
25   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
26   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
27     8. Pursuant to supplemental jurisdiction, an attendant and related cause
28   of action, arising from the same nucleus of operative facts and arising out of


                                             2

     Complaint
 Case 2:18-cv-03609-R-E Document 1 Filed 04/29/18 Page 3 of 8 Page ID #:3




 1   the same transactions, is also brought under California’s Unruh Civil Rights
 2   Act, which act expressly incorporates the Americans with Disabilities Act.
 3     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 4   founded on the fact that the real property which is the subject of this action is
 5   located in this district and that Plaintiff’s cause of action arose in this district.
 6
 7     FACTUAL ALLEGATIONS:
 8     10. Plaintiff went to the Store in March 2018 to buy coffee.
 9     11. The Store is a facility open to the public, a place of public
10   accommodation, and a business establishment.
11     12. Coffee grinders are one of the facilities, privileges, and advantages
12   offered by Defendants to patrons of the Store.
13     13. Unfortunately, the height of the coffee grinders are mounted so that
14   their highest operable parts are greater than 34 inches above the finished floor
15   and inaccessible to wheelchair users.
16     14. In fact, the height of the highest operable parts is about 75 inches in
17   height. As a result, plaintiff was unable to grind his coffee grounds.
18     15. Check stands are another one of the facilities, privileges, and
19   advantages offered by Defendants to patrons of the Store.
20     16. Unfortunately, the check stand counters are 42 inches in height, which
21   is not accessible to wheelchair users.
22     17. Plaintiff personally encountered this barrier.
23     18. This inaccessible condition denied the plaintiff full and equal access and
24   caused him difficulty, discomfort, and embarrassment.
25     19. Plaintiff plans to return and patronize the Store but he will be deterred
26   from visiting until the defendants remove the barriers.
27     20. The barriers identified above are easily removed without much
28   difficulty or expense. They are the types of barriers identified by the


                                               3

     Complaint
 Case 2:18-cv-03609-R-E Document 1 Filed 04/29/18 Page 4 of 8 Page ID #:4




 1   Department of Justice as presumably readily achievable to remove and, in fact,
 2   are readily achievable to remove. Moreover, there are numerous alternative
 3   accommodations that could be made to provide a greater level of access if
 4   complete removal were not achievable.
 5     21. Plaintiff is and has been deterred from returning and patronizing the
 6   Store because of his knowledge of the barriers that exist. Plaintiff will,
 7   nonetheless, return to the business to assess ongoing compliance with the
 8   ADA and will return to patronize the Store as a customer once the barriers are
 9   removed.
10     22. Given the obvious and blatant nature of the barriers and violations
11   alleged herein, the plaintiff alleges, on information and belief, that there are
12   other violations and barriers on the site that relate to his disability. Plaintiff will
13   amend the Complaint to provide proper notice regarding the scope of this
14   lawsuit once he conducts a site inspection. However, please be on notice that
15   the plaintiff seeks to have all barriers related to his disability remedied. See
16   Doran v. 7-11, 506 F.3d 1191 (9th Cir. 2008) (holding that once a plaintiff
17   encounters one barrier at a site, he can sue to have all barriers that relate to her
18   disability removed regardless of whether he personally encountered them).
19     23. Additionally, on information and belief, the plaintiff alleges that the
20   failure to remove these barriers was intentional because: (1) these particular
21   barriers are intuitive and obvious; (2) the defendants exercised control and
22   dominion over the conditions at this location and, therefore, the lack of
23   accessible facilities was not an “accident” because, had the defendants
24   intended any other configuration, they had the means and ability to make the
25   change.
26
27
28


                                               4

     Complaint
 Case 2:18-cv-03609-R-E Document 1 Filed 04/29/18 Page 5 of 8 Page ID #:5




 1   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 2   WITH DISABILITIES ACT OF 1990 (On behalf of plaintiff and against all
 3   defendants (42U.S.C. section 12101, et seq.)
 4     24. Plaintiff repleads and incorporates by reference, as if fully set forth
 5   again herein, the allegations contained in all prior paragraphs of this
 6   complaint.
 7     25. Under the ADA, it is an act of discrimination to fail to ensure that the
 8   privileges, advantages, accommodations, facilities, goods and services of any
 9   place of public accommodation is offered on a full and equal basis by anyone
10   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
11   § 12182(a). Discrimination is defined, inter alia, as follows:
12            a. A failure to make reasonable modifications in policies, practices,
13                or procedures, when such modifications are necessary to afford
14                goods,    services,    facilities,   privileges,    advantages,   or
15                accommodations to individuals with disabilities, unless the
16                accommodation would work a fundamental alteration of those
17                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
18            b. A failure to remove architectural barriers where such removal is
19                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
20                defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
21                Appendix “D.”
22            c. A failure to make alterations in such a manner that, to the
23                maximum extent feasible, the altered portions of the facility are
24                readily accessible to and usable by individuals with disabilities,
25                including individuals who use wheelchairs or to ensure that, to the
26                maximum extent feasible, the path of travel to the altered area and
27                the bathrooms, telephones, and drinking fountains serving the
28                altered area, are readily accessible to and usable by individuals


                                             5

     Complaint
 Case 2:18-cv-03609-R-E Document 1 Filed 04/29/18 Page 6 of 8 Page ID #:6




 1                 with disabilities. 42 U.S.C. § 12183(a)(2).
 2     26. Where there are self-service shelves and dispensing devices for food
 3   and beverages, at least 50% of them (and in some cases all of them) must
 4   comply with certain height and reach requirements. 1991 Standards § 5.5 and
 5   5.6. Where the clear floor space allows parallel approach by a person in a
 6   wheelchair but the reach is over an obstruction, the maximum height of the
 7   obstruction cannot exceed 34 inches. 1991 Standards § 4.2.6 & Fig. 6(c).
 8   Additionally, the maximum depth of that reach cannot be greater than 24
 9   inches. Id.
10     27. Here, the failure to comply with the height and reach requirements for
11   the coffee grinders is a violation of the law.
12     28. In areas used for transactions where check-out counters have cash
13   registers and are provided for sales or distribution of goods or services to the
14   public, at least one of each type shall have a portion of the counter which is no
15   more than 38 inches in height. Additionally, the top of the lip shall not exceed
16   40 inches above the finish floor. 1991 Standards § 7.3. 2010 Standards §
17   904.3.2.
18     29. Here, no such accessible counter has been provided and is in violation
19   of the ADA.
20     30. A public accommodation must maintain in operable working condition
21   those features of its facilities and equipment that are required to be readily
22   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
23     31. Here, the failure to ensure that the accessible facilities were available
24   and ready to be used by the plaintiff is a violation of the law.
25     32. Given its location and options, plaintiff will continue to desire to
26   patronize the Store but they have been and will continue to be discriminated
27   against due to the lack of accessible facilities and, therefore, seek injunctive
28   relief to remove the barriers.


                                              6

     Complaint
 Case 2:18-cv-03609-R-E Document 1 Filed 04/29/18 Page 7 of 8 Page ID #:7




 1   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 2   RIGHTS ACT (On behalf of plaintiff and against all defendants) (Cal Civ §
 3   51-53)
 4      33. Plaintiff repleads and incorporates by reference, as if fully set forth
 5   again herein, the allegations contained in all prior paragraphs of this
 6   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 7   that persons with disabilities are entitled to full and equal accommodations,
 8   advantages, facilities, privileges, or services in all business establishment of
 9   every kind whatsoever within the jurisdiction of the State of California. Cal.
10   Civ. Code §51(b).
11      34. The Unruh Act also provides that a violation of the ADA, or of California
12   state accessibility regulations, is a violation of the Unruh Act. Cal. Civ. Code,
13   § 51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439
14   (N.D.Cal.1994).
15      35. Defendants’ acts and omissions, as herein alleged, have violated the
16   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
17   rights to full and equal use of the accommodations, advantages, facilities,
18   privileges, or services offered.
19      36. Defendants’ acts and omissions, as herein alleged, have also violated
20   the Unruh Act by denying, or aiding or inciting the denial of, Plaintiff’s right to
21   equal access arising from the provisions of the ADA (see Plaintiff’s First Cause
22   of Action).
23      37. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
24   discomfort or embarrassment for the plaintiff, the defendants are also each
25   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
26   (c).)
27
28


                                              7

     Complaint
 Case 2:18-cv-03609-R-E Document 1 Filed 04/29/18 Page 8 of 8 Page ID #:8




 1          PRAYER:
 2          Wherefore, Plaintiff prays that this court award damages and provide
 3   relief as follows:
 4       1. For injunctive relief, compelling defendants to comply with the
 5   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 6   Plaintiff is not invoking section 55 of the California Civil Code and is not
 7   seeking injunctive relief under the Disabled Persons Act at all.
 8       2. Damages under the Unruh Civil Rights Act which damages provide for
 9   actual damages and a statutory minimum of $4,000.
10       3. Reasonable attorney fees, litigation expenses and costs of suit,
11   pursuant to 42 U.S.C. § 12205; Cal. Civ. Code § 52.
12
13   Dated: April 27, 2018            CENTER FOR DISABILITY ACCESS
14
15
16                                    By:
17                                    _______________________________

18                                           Chris Carson, Esq.
                                             Attorney for plaintiff
19
20
21
22
23
24
25
26
27
28


                                            8

     Complaint
